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                         UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA
                     CASE NO.: 19-20822-CR-WILLIAMS/TORRES

     UNITED STATES OF AMERICA,

             Plaintiff,

     v.

     JOSE MANUEL MENOCAL, JR.,

          Defendant.
     _______________________________________/


           OPPOSITION TO GOVERNMENT’S NOTICE OF INTENT TO
          INTRODUCE EVIDENCE PURSUANT TO FEDERAL RULES OF
          EVIDENCE 413 AND 404(b) AND MOTION FOR EVIDENTIARY
                                HEARING

             JOSE MANUEL MENOCAL, JR. (or “Defendant”), through

     undersigned counsel, files this Motion to Exclude Government’s Intent to

     Introduce Evidence Pursuant to Federal Rules of Evidence 413 and 404(b)

     and Motion for Evidentiary Hearing, and states:

     1.     On December 12, 2019, a federal grand jury returned an Indictment

          (DE3) charging the Defendant with two counts of willfully depriving

          victims of the right to be free from unreasonable searches and seizures by

          a person acting under color of law, in violation of 18 U.S.C. § 242. Count

          1 charges that on or about June 13, 2015, the Defendant, for his own

          sexual gratification, directed Victim 1 to remove her shorts and underwear
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          and turn around. Count 2 charges that during an incident that occurred

          between January 1, 2015 and March 31, 2015, the Defendant exposed his

          bare penis to Victim 2, placed her hand on it, and kissed her. On May 27,

          2020, the government filed a Superseding Information (DE25), charging

          the defendant with violating 18 U.S.C. § 242 by willfully depriving

          Victim 3 of that same right to be free from unreasonable searches and

          seizures by a person acting under color of law, during an incident that

          occurred on May 31, 2015. In that incident, the Defendant is charged

          with causing Victim 3’s mouth to have contact with his penis. On June 9,

          2020, this Court consolidated the Indictment and Superseding Information

          for trial (DE29).

     2.     On August 8, 2020, the government filed a notice of intent to introduce

          evidence pursuant to Federal Rules of Evidence 413 and 404(b) (DE37),

          as follows:

             • Alleged evidence regarding victims 4 and 5 under Fed. R. Evid.

                 413;

             • Alleged evidence regarding C.M. as to a consensual relationship

                 with the Defendant while she was at the police academy including

                 text messages under Fed. R. Evid. 404(b);

             • Alleged evidence of Hialeah Police Department (or “HPD”) video

                 surveillance from substation 5 under Fed. R. Evid. 404(b).
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     Pursuant to Local Rule, undersigned counsel certifies he has conferred in a

     good faith effort to resolve the issues raised in these pleadings.



                             MEMORANDUM OF LAW

           Under Fed. R. Evid. 404(b), “Evidence of a crime, wrong, or other act

     is not admissible to prove a person's character in order show that on a

     particular occasion the person acted in accordance with the character.” To

     be admissible, Fed. R. Evid. 404(b) extrinsic evidence must (1) be relevant

     to one of the enumerated issues other than the defendant’s character, (2) be

     supported by sufficient evidence to allow a jury to determine that the

     defendant committed the act and (3) not be unduly prejudicial under

     the standard set forth in Fed. R. Evid. 403. See United States v. Edouard,

     485 F.3d 1324 (11th Cir. 2007).

           Regarding the first prong of the Rule 404(b) test, a defendant makes

     his intent relevant by pleading not guilty. See United States v. Zapata, 139

     F.3d 1355, 1358 (11th Cir. 1998)(per curiam). Additionally, evidence that a

     defendant engaged in similar behavior in the past makes it more likely that

     he did so knowingly, and not because of accident or mistake, on the current

     occasion. See United States v. Jernigan, 341 F.3d 1273, 1281-82 (11th Cir.

     2003). As to the second prong of the Rule 404(b) test, there is sufficient
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     proof of the other acts if a jury could find by a preponderance of the

     evidence that the defendant committed the act. See Edouard, 485 F.3d at

     1345. A single witness’s uncorroborated testimony can provide an adequate

     basis for a jury to find that the prior act occurred.   See United States v.

     Barrington, 648 F.3d 1178, 1187 (11th Cir. 2011). Under the third prong, a

     Rule 403 analysis is conducted to determine whether the probative value of

     the evidence is substantially outweighed by the danger of unfair prejudice.

     See United States v. Barron-Soto, 820 F.3d 409, 417 (11th Cir. 2016).

           When examining the probative value of an extrinsic act, the Eleventh

     Circuit considers the government’s need for the evidence to prove the

     defendant’s guilt, the similarity between the extrinsic act and the charged

     offense, and the extrinsic act’s temporal remoteness from the charged

     offense. See United States v. Culver, 598 F.3d Culver, 598 F.3d at 748. A

     limiting instruction may be provided to reduce the prejudicial impact of

     extrinsic evidence. United States v. Zapata, 139 F.3d 1355, 1358 (11th Cir.

     1998).



               The Alleged Consensual Sexual Relationship with C.M. and

                                 Related Messages

           The government’s request to admit the evidence of the Defendant’s

     consensual sexual relationship with Academy trainee C.M. and text
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     messages fails under the first prong because it is irrelevant and not similar to

     the charges that the Defendant allegedly engaged in non-consensual sex

     while on police duty.     The indictment (DE3) and superseding indictment

     (DE25) charge the Defendant with non-consensual sexual assaults of

     willfully depriving three (3) alleged victims of the right to be free from

     unreasonable searches and seizures by a person acting under color of law, in

     violation of 18 U.S.C. § 242. Count 1 of the indictment charges that on or

     about June 13, 2015, the Defendant, for his own sexual gratification,

     directed Victim 1 to remove her shorts and underwear and turn around.

     Count 2 of the indictment charges that during an incident that occurred

     between January 1, 2015 and March 31, 2015, the Defendant exposed his

     bare penis to Victim 2, placed her hand on it, and kissed her. Count 3 of the

     superseding indictment charges the Defendant with violating 18 U.S.C. §

     242 by willfully depriving Victim 3 of that same right to be free from

     unreasonable searches and seizures by a person acting under color of law,

     during an incident that occurred on May 31, 2015. In that alleged incident,

     the Defendant is charged with causing Victim 3’s mouth to have contact with

     his penis.

           However, the government’s request to admit the evidence of the

     defendant’s consensual sexual relationship with Academy trainee C.M. and

     text messages is entirely different. Even further, the government’s request to
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     admit this evidence fails under the third prong of a Rule 403 analysis

     because the probative value of the evidence is substantially outweighed by

     the danger of unfair prejudice.     See Barron-Soto, 820 F.3d at 417. As

     mentioned, the Defendant was allegedly in a consensual sexual relationship

     with C.M. who allegedly became pregnant. See Berry v. Oswalt, 143 F.3d

     1127 (8th Cir. 1998)(Evidence of corrections officer’s prior charged acts of

     sexual misconduct toward female inmates should not have been admitted on

     plaintiff’s charge of sexual harassment and tort of outrage, because evidence

     was highly inflammatory, and its probative value slight, since prior acts were

     not similar to acts charged).      Similarly, in this case, the Defendant’s

     consensual sexual relationship with C.M. and text messages are highly

     inflammatory, and the probative value very slight, since the Defendant’s

     consensual relationship is not similar to the non-consensual encounters the

     Defendant had with the alleged three (3) victims within Counts 1-3. See

     Silkwood v. Kerr-McGee Corp., 485 F. Supp. 566 (W.D. Okla. 1979), aff’d

     in part and rev’d in part 667 F.2d 908 (Sexual involvements by Plaintiff’s

     decedent are inadmissible by virtue of Rule 404’s proscription on character

     evidence used to show conduct, without regard to prejudicial value under

     Rule 403); Williams v. City of Kansas City Mo., 223 F.3d 749, 755-56 (8th

     Cir. 2000)(evidence of supervisor's prior consensual relationships with

     customers and subordinates was improperly admitted given its minimal
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     relevance and inflammatory nature); Ross v. Baldwin County Bd. Of Educ.,

     Case No. 06-275, 2008 U.S. Dist. LEXIS 38082 (S.D. Ala. 2008)(Same).

           Likewise, in this case, the Defendant’s consensual relationship with

     C.M. would serve minimal relevance and would serve to confuse and

     inflame the jury. Therefore, the Defendant respectfully requests the Court to

     prohibit such purported evidence.



                  The HPD Video Surveillance from Substation 5

           In determining the probity of 404(b) evidence, the test to be applied

     varies depending on the issue for which the evidence is offered. See United

     States v. Beechum, 582 F.2d 898, 911 n.15 (5th Cir. 1978)(en banc)1. Where

     Rule 404(b) evidence is introduced to establish identity, the crucial

     consideration is the similarity of the extrinsic and charged offenses, but the

     degree of similarity must be much greater than that for intent. See Id. at

     911-12 n.15; United States v. Lail, 846 F.2d 1299, 1301 (11th Cir. 1988)

     (Reversal when district court permitted the government was to introduce

     evidence of an extrinsic crime that did not possess probative value that


     1 Bonner v. City of Prichard, 661 F.2d 1206 (11th Cir. 1981)(Decisions of the
     United States Court of Appeals for the Fifth Circuit (the “former Fifth” or
     the “old Fifth”), as that court existed on September 30, 1981, handed down
     by that court prior to the close of business on that date, shall be binding as
     precedent in the Eleventh Circuit, the District Courts, and the bankruptcy
     courts in the circuit.
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     substantially outweighed its undue prejudice and that did not evidence the

     modus operandi used by defendant in the charges before the trial court).

     “The physical similarity [between the offenses] must be such that it marks

     the offenses as the handiwork of the accused. In other words, the evidence

     must demonstrate a modus operandi.” See Beechum, 582 F.2d at 911-12

     n.15. There is no physical similarity between the alleged video surveillance

     and charges here because the government has no evidence whatsoever that

     the Defendant conducted any sexual activities with the females, which

     include females who the Defendant allegedly merely took to Substation 5 or

     visited him there. [DE37:14-16]

           Similar to the reasons stated above supporting why the alleged

     evidence related to C.M. should not be admitted, likewise, the purported

     HPD video surveillance from substation 5 regarding other females, which

     include females who the Defendant allegedly merely took to Substation 5 or

     visited him there [DE37:14-16] is not relevant and because the probative

     value of the evidence is substantially outweighed by the danger of unfair

     prejudice.

           This evidence in no way shows that it is similar to the purported

     victims because there is no evidence whatsoever that the Defendant

     conducted any sexual activities with the females seen on the video

     surveillance. The government’s leap to suggest that the Defendant conducted
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     sexual activities with the females on the video surveillance screams of an

     attempt to confuse the jury, inflame the jury and serve as propensity

     evidence.



                    MOTION FOR EVIDENTIARY HEARING

           The Defendant requests for the Court to hold an evidentiary hearing

     prior to the admission of any of the evidence referenced within the

     government’s notice of intent to introduce evidence because Rule 404(b)

     requires proof that an act occurred by a preponderance of the evidence (See

     Edouard, 485 F.3d at 1345) and Rule 413 requires proof that a sexual assault

     occurred under a preponderance of the evidence standard. A District Court

     may hold an evidentiary hearing for such reasons.        See United States v.

     Dillon, 532 F.3d 379 (5th Cir. 2008); United States v. Boyajian, Case No.

     09-933, 2012 U.S. Dist. Court LEXIS 132709 (C.D. Cal. 2012).



                                   CONCLUSION

           WHEREFORE, the Defendant respectfully requests the Court to rule

     consistent with this opposition and to grant any and all relief the Court finds

     just and reasonable.

                                                   Respectfully submitted,

                                                   /s/Michael Grieco___________
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                           CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that a true and correct copy of the foregoing

      was furnished via transmission of Notices of Electronic Filing generated by

      CM/ECF to all counsel of record this 14th day of September 2020.

                                                 /s/Michael Grieco___________
                                                 Michael C. Grieco, Esq.




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